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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                              MONROE DIVISION


UNITED STATES OF AMERICA                     CASE NO. 3:25-CR-00027-01

VERSUS                                       JUDGE TERRY A. DOUGHTY

XZAVIOR OSTEEN (01)                          MAG. JUDGE KAYLA D. MCCLUSKY



                                   ORDER
      Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to produce all exculpatory evidence to the defendant pursuant to

Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.

Failing to do so in a timely manner may result in consequences, including, but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, or sanctions by the Court.


       Signed at Monroe, Louisiana on this 19th day of February, 2025.




                                    KAYLA D. MCCLUSKY
                                    UNITED STATES MAGISTRATE JUDGE
